
The People of the State of New York, Respondent,
againstCorey Harley, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Louis L. Nock, J.), entered November 14, 2016, convicting him, upon his plea of guilty, of driving while impaired by alcohol and facilitating aggravated unlicensed operation of a motor vehicle in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Louis L. Nock, J.), rendered November 14, 2016, affirmed.
The accusatory instrument was not jurisdictionally defective. Sworn police allegations that defendant was "behind the wheel" of a vehicle, while "the key was in the ignition [and] the engine was running," satisfied the operation element of the charged Vehicle and Traffic Law offenses, both misdemeanor and traffic infractions (see People v Alamo, 34 NY2d 453, 458-459 [1974]; People v Almanzar, 113 AD3d 527 [2014], lv denied 23 NY3d 1059 [2014]). The court thus had jurisdiction over defendant and was authorized to accept defendant's plea to the charged offense of driving while impaired (see Vehicle and traffic Law § 1192[1]), and facilitating aggravated unlicensed operation of a motor vehicle in the third degree (see Vehicle and Traffic Law § 511-a[1]), a traffic infraction not charged in the accusatory instrument (see People v Keizer, 100 NY2d 114, 119 [2003]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: December 12, 2017










